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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    PETER ALLEN, et al.,

                      Plaintiffs,
                                               No. 19-CV-8173 (LAP)
    -against-
                                                  OPINION & ORDER
    CARL KOENIGSMANN, et al.,

                      Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

        Before the Court are two related motions: State Represented

Defendants’ (“SRDs”)1 and Dr. Carol Moores’ motion to dismiss

Plaintiffs’ Second Amended Complaint (“SAC”) pursuant to Fed. R.




1 The SRDs are Defendants Carl Koenigsmann, John Morley, Susan
Mueller, David S. Dinello, John Hammer, and Kristin Salotti.


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Civ. P. 12(b)(1)2 and Plaintiffs’ motion for injunctions.3 For

the reasons below, Defendants’ motion to dismiss is DENIED, and

Plaintiffs’ motion for a preliminary injunction is GRANTED.




2 (The SRDs’ Supplemental Memorandum of Law in Support of their
Motion to Dismiss the SAC (“SRD 12(b)(1) Br.”), dated July 30,
2021 [dkt. no. 273]; Expert Report: Allen, et al. v.
Koenigsmann, et al., 19-cv-8173 by Adam J. Carinci, M.D.
(“Carinci Rep.”), dated March 5, 2022 [dkt. no. 348-2]; Peter
Allen, et al. v. NYS DOCCS, et al., 19 Civ. 8173 (LAP), Expert
Report for the Case by Neel Mehta, MD (“Mehta Rep.”), dated
March 7, 2022 [dkt. no. 430-1]; Declaration of Joshua Morrison,
dated May 22, 2022 [dkt. no. 374]; Plaintiff and Plaintiff-
Intervenors’ Memorandum of Law in Support of Motion for
Injunctions and in Opposition to the SRDs’ Rule 12(b)(1) Motion
(“Pl. Inj. Br.”), dated May 31, 2022 [dkt. no. 378]; Comments
and Rebuttal to Report provided by Plaintiffs’ Expert Dr. Adam
Carinci, MD, MBA, Drafted by Dr. Neel Mehta, MD (“Mehta Reb.
Rep.”), dated July 5, 2022 [dkt. no. 430-16]; Declaration of
Oriana L. Kiley, Esq. in Support of Defendant Moores’ Opposition
to Preliminary Injunction; Opposition to Class Certification;
and in Further Support of Defendants’ 12(b)(1) Motion to
Dismiss, dated November 15, 2022 [dkt. no. 447]; Dr. Moores’
Reply Memorandum of Law in Further Support of Defendants’ Rule
12(b)(1) Motion to Dismiss Plaintiffs’ SAC (“Moores 12(b)(1)
Reply”), dated November 15, 2022 [dkt. no. 448].)

3 (Pl. Inj. Br.; Declaration of Carol A. Moores, M.D. (“Moores
Decl.”), dated November 14, 2022 [dkt. no. 489-491]; Dr. Moores’
Memorandum of Law in Opposition to Motion for Injunctive Relief
(“Moores Inj. Opp.”), dated November 15, 2022 [dkt. no. 449];
Declarations in Reply to Motion for Injunctions from Jose Burgos
[dkt. no. 474], Mark Daniels [dkt. no. 475], Hugh Knight [dkt.
no. 476], Rashid Rahman [dkt. no. 477], Felipe Rivera-Cruz [dkt.
no. 478], and Reply Declaration of Joshua Morrison in Support of
Motion for Injunctions [dkt. no. 480], all dated December 12,
2022; Declaration in Reply to Motion for Injunctions from
Richard Vasquez, dated December 19, 2022 [dkt. no. 485];
Plaintiffs’ Reply Memorandum of Law in Support of Motion for
Injunctions (“Pl. Inj. Reply”), dated December 12, 2022 [dkt.
no. 481]; Defendant Dr. Carol Moores’ Post-Hearing Brief
(“Moores PH Br.”), dated February 17, 2023 [dkt. no. 536];
Plaintiffs’ Post-Hearing Brief (footnote continued)
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I.   Procedural History
     A. Plaintiffs’ Claims for Relief in the SAC

     In the SAC, Plaintiffs made two claims for relief based on

deliberate indifference under 42 U.S.C. § 1983. The first was

made against DOCCS’ Chief Medical Officer (“CMO”), Regional

Medical Directors (“RMDs”), and other administrators who

promulgated, implemented, and enforced the Medications with

Abuse Potential (“MWAP”) Policy.4 (SAC at ¶¶ 1045-54.) The second



(footnote continued) (“Pl. PH Br.”), dated February 22, 2023
[dkt. no. 545]; Declaration of Amy Jane Agnew, dated February
22, 2023 [dkt. no. 546].)

4 DOCCS’ official MWAP policy was drafted by Dr. David Dinello,
then an RMD, promulgated by Dr. Carl Koenigsmann, then CMO, on
June 2, 2017 (dkt. no. 541 (“Feb. 6 Tr.”) at 31:11-16), and
revised on September 10, 2018, (SAC at ¶¶ 156-58). The MWAP
Policy included a list of medications, including Oxycodone and
the gabapentinoids (Feb. 6 Tr. at 32:9-19; SAC at ¶¶ 88-106),
and Plaintiffs alleged that as implemented, the MWAP Policy was
“an almost wholesale restriction on the prescription of MWAPs,
except in cases of acute need or palliative care,” (SAC at
¶ 117). Plaintiffs alleged that a complete ban on use of these
medications to treat chronic conditions “d[id] not comport with
the standards adopted by other prison systems or the Standard of
Medical Care in the community.” (Id.)

The MWAP Policy required primary care providers who wanted to
prescribe an MWAP to submit an MWAP Request Form to the RMD who
supervised the provider’s facility. (Id. at ¶ 168.) The RMD
would then review the MWAP Request Form while having access to
the “limited portions of the patient’s medical history available
on the DOCCS’ FHS1 database.” (Id. at ¶ 171.) Plaintiffs alleged
that “[b]ased on the MWAP Request Form contents the RMD -- and
not the patient’s medical provider –- determine[d] whether a
patient w[ould] receive an MWAP.” (Id. at ¶ 173.) Plaintiffs
alleged that under the MWAP Policy, DOCCS’ primary care
providers had to discontinue an MWAP if it was not approved by
the RMD because DOCCS pharmacies would not (footnote continued)
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was made against DOCCS medical care providers for discontinuing

MWAP medications “regardless of the patient’s medical needs.”

(SAC at ¶¶ 1055-67.) In the SAC, Plaintiffs seek the following

equitable relief:

       allow individualized assessments of class members’ MWAP
       needs by their primary care physicians, consultants and
       specialists based on a medically appropriate review of
       the patient’s medical history, physical examination,
       consideration of real function; and where those efforts
       fail, ordering assessment by a properly certified,
       independent pain management specialist; and, creating a
       monitoring person or body to ensure that patients who
       require MWAP medications are not denied based on
       anything other than a comprehensive individualized
       assessment.

(SAC at ¶ 1108.)

       B. Motion Practice

       On July 30, 2021, the SRDs filed a supplemental memorandum

of law asserting that Plaintiffs’ claims for injunctive relief

were moot based on the rescission of the MWAP Policy on

February 8, 2021, and its replacement by Health Services Policy

Number 1.24A (“Policy 1.24A”).5 (SRD 12(b)(1) Br. at 2-3.) On May



(footnote continued) fill a prescription for an MWAP without RMD
approval. (Id. at ¶ 177; see also Defendants’ Exhibit 1 (MWAP
Policy 1.24).) Plaintiffs alleged that the MWAP Policy “d[id]
not operate to create ‘oversight,’ it had the immediate impact
of abruptly discontinuing the effective treatment of hundreds of
inmates on MWAPs.” (Id. at ¶ 184.)

5   Policy 1.24A states:

       I. Policy. The Department of Corrections and Community
       Supervision (DOCCS) provides (footnote continued)
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(footnote continued) appropriate medical evaluation and
treatment of chronic pain syndromes for its patient
population.

II. Procedure. Each patient with a chronic pain
condition will be given the Problem List Code 338 “Pain
Management”. This code will enable us to identify and
ensure continuity of care and appropriate pain
management follow-up. This identification will be used
for patients whether or not they are receiving
medication to control their pain. Code 338 indicates
that the patient is to be assessed periodically for pain
levels, functionality, and needs based on the patient's
underlying medical condition contributing to the chronic
pain. Individual specific treatment plans may include a
Patient Pain Management Agreement.

The primary care provider (PCP) will prescribe any
medications deemed appropriate for treatment of the
patient's   chronic   pain  condition.  There   is  no
requirement for an approval process except when a non-
formulary   medication   is  requested.  Non-formulary
medications will be approved in cases where it is
documented that other formulary treatments were tried
and shown to be unsuccessful in achieving functional
treatment goals.

Specialty consults will be ordered as indicated for the
evaluation and care of chronic pain patients. In the
event that the PCP does not accept the recommendations
of the specialist, the PCP will:

  •   Document in the AHR regarding the reasons why the
      PCP does not accept the recommendations;
  •   Call the specialist to discuss the case to clarify
      that the specialist understands the pertinent
      details of the patient's situation;
  •   If the PCP still does not accept the specialist's
      final recommendations, the PCP will discuss the
      case with another DOCCS provider. Facility Health
      Services   Director,   or  the   Regional   Medical
      Director;
  •   Documentation of these discussions will be recorded
      in the AHR; and (footnote continued)



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19, 2022, this Court filed an opinion largely denying

Defendants’ motions to dismiss the first amended complaint.

Allen v. Koenigsmann, 2022 WL 1597424, at *1 (S.D.N.Y. May 19,

2022). However, the Court did not decide the Rule 12(b)(1) motion

because Plaintiffs had not yet submitted their opposition

papers. Id. at *1, n.3. On May 20, 2022, Plaintiffs submitted

their motion for a preliminary injunction and on May 31, 2022,

their supporting memorandum of law, which included Plaintiffs’

opposition to the SRDs’ Rule 12(b)(1) motion to dismiss. (Pl.

Inj. Br.) On December 12, 2022, Plaintiffs submitted their reply

in support of their motion for a preliminary injunction. (Pl.

Inj. Reply.)




(footnote continued)

       •   All treatment decisions will be made by the PCP

     Pain management medication should only be discontinued
     after a provider has met with the patient, discussed the
     issues regarding the use of the medication, analyzed the
     patient's situation, and subsequently determined that it
     is in the best interest of the patient for the medication
     to be discontinued. The discussion with the patient and
     the reasons for discontinuation of the pain medication
     will be recorded in the AHR.

     Patients with the Pain Management designation Code 338
     will be seen at least every 90 days by a PCP. At least
     annually, the PCP will meet with the patient to discuss
     the patient's treatment plan.

(Defendants’ Exhibit 2, emphasis added.)
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    Shortly before submitting their motion for a preliminary

injunction, on May 12, 2022, Plaintiffs submitted the

declaration and report of their expert, Dr. Adam Carinci.

(Carinci Rep.) In his report, Dr. Carinci wrote that he reviewed

curated medical records for seventy DOCCS patients, including

eighteen named Plaintiffs and Plaintiff-Intervenors, and

physically examined and spoke to seventeen patients at three

different DOCCS facilities. (Id. at 9.) Dr. Carinci’s report

included opinions on nearly all seventy patients whose records

he reviewed. (Id. at 10-40.) Dr. Carinci found issues with each

of their treatment, writing that patients’ pain medications were

discontinued “without sufficient medical rationale” (id. at 12),

“medical justification” (id. at 26), or “individualized

assessment” (id. at 13), and “irrespective” of the patient’s

“individual response” to the medication, (id. at 13).

    For example, Dr. Carinci found that Mr. Ronald Digg’s

Flexeril prescription was “discontinued and further medication

recommendations were denied and not even tried without medical

rationale and irrespective of Mr. Diggs’ individual needs.” (Id.

at 16.) Dr. Carinci wrote that despite Flexeril’s efficacy in

treating Mr. Digg’s lumbar myofascial pain and muscle spasms,

and the “numerous specialist recommendations for starting

neuropathic pain medications,” Mr. Digg’s Flexeril was

“repeatedly denied or discontinued.” (Id.) Dr. Carinci wrote
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that Mr. Diggs was provided ineffective substitute medications

that were “associated with intolerable side effects” even while

further “appropriate alternatives were recommended repeatedly by

specialists.” (Id.)

    On April 8, 2022, Dr. Moores, the new DOCCS CMO, was

substituted as the party representing the CMO’s office. (Dkt.

no. 342.) On August 2, 2022, representatives for the New York

State Attorney General (“NY AG” or “AG”) informed the Court that

they had conducted a representational analysis regarding

Dr. Moores – four months after she was substituted into the

case – and concluded that the AG’s continued representation of

Dr. Moores was inappropriate, certifying Dr. Moores for

representation by outside counsel. (Dkt. no. 396.) On August 5,

2022, Whiteman Osterman & Hanna L.L.P. appeared as counsel for

Dr. Moores. (Dkt. no. 397.)

    On November 15, 2022, Dr. Moores submitted her reply

supporting the Rule 12(b)(1) motion to dismiss (Moores 12(b)(1)

Reply) and her opposition to Plaintiffs’ motion for a

preliminary injunction (Moores Inj. Opp.). Submitted alongside

these briefs was Dr. Moores’ declaration. (Moores Decl.) In her

declaration, Dr. Moores wrote that she reviewed “the files of

the named Plaintiffs and specific patients listed in Plaintiffs’

motion papers to determine whether, and to what extent, they may


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have been denied necessary pain medication.” (Id. at ¶ 86.)

Dr. Moores asserted that none of the patients’ treatment had

“lapsed or become urgent” and that she had found “no evidence

that pain medications were discontinued for non-medical

reasons.” (Id. at ¶¶ 90-91.) It was the contrast between

Dr. Carinci’s report and Dr. Moores’ declaration that set up the

issue of fact to be tried.

       C. February 2023 Evidentiary Hearing

       In a telephone conference with the parties on December 23,

2022, the Court found that there was a disputed issue of fact

raised in both the Rule 12(b)(1) and the preliminary injunction

papers as to whether the constitutional violations Plaintiffs

complained of had ceased. (Dkt. no. 496 at 21:11-21:21.) To

resolve this fact issue, the Court ordered an evidentiary

hearing focused on the prongs of the voluntary cessation

doctrine. (Id. at 21:21-22:3.)6

       The hearing commenced on February 6, 2023, and continued

through February 8, 2023. Both Dr. Moores and Plaintiffs called


6   “At that hearing, the parties shall offer evidence as to:
     1. Whether the conduct complained of has, in fact, ceased;
     2. Whether there is a reasonable expectation that violations
        will reoccur; and
     3. Whether policy 1.24A has completely and irrevocably
        eradicated the effect of the MWAP policy.”

(Dkt. no. 496 at 21:21-22:3.)


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witnesses who presented testimony. On February 17, 2023,

Dr. Moores submitted her post-hearing brief (Moores PH Br.), and

on February 22, 2023, Plaintiffs submitted their post-hearing

brief (Pl. PH Br.).7 What follows is a review of the evidence

relevant to the two motions currently at issue that were

presented in the parties’ briefs, the evidentiary hearing, and

other associated submissions. The Court presumes the parties’

familiarity with the more general facts of the case.


7 Dr. Moores appears to take issue with the fact that the Court
put the burden on her to disprove the existence of ongoing
constitutional violations without the Court’s having found that
Plaintiffs met their prima facie burden of proving the
irreparable harm prong of the preliminary injunction standard.
(Moores PH Br. at 3.) However, the Court clearly articulated
that the hearing was focused on the voluntary cessation
doctrine, which the SRDs relied on in their motion to dismiss.
(SRD 12(b)(1) Br. at 9-11.)

Part of Dr. Moores’ confusion appears to stem from a belief that
the Court denied Defendants’ Rule 12(b)(1) motion in its
entirety during the December 23, 2022 conferences. (See dkt. no.
508 at 5:14-17.) During the December 23 conference, the Court
made a series of findings and rejected some of the arguments
made in Defendants’ 12(b)(1) and preliminary injunction papers
while finding a disputed issue of fact as to whether DOCCS’
constitutional violations had ceased. (Dkt. 496 at 21:11-22:3.)
The Court ordered an evidentiary hearing on the issue of whether
the constitutional violations had ceased, and the case law is
clear that Defendants carry the burden when asserting the
voluntary cessation doctrine. (See discussion infra, Section
(III)(A).)

Further, even in the context of the preliminary injunction
papers, the Court clarified for Dr. Moores’ counsel on January
5, 2023, that the Court held that Plaintiffs had made their
showing of irreparable injury in that they showed that
constitutional violations were ongoing, and the burden was on
Dr. Moores to show mootness. (Dkt. no. 508 at 6:7-11.)
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II.     Relevant Facts from Evidentiary Hearing
        A. Dr. Moores’ Evidence

           i.   Testimony of Dr. Carol Moores and Dr. Asfar Kahn

        Counsel for Dr. Moores offered testimony from her8 and from

Dr. Asfar Kahn, a physician serving as Deputy CMO to Dr. Moores.

The doctors’ testimony iterated that the MWAP Policy was

rescinded in 2021 and the new Policy 1.24A adopted. The new

policy: 1) allows DOCCS medical providers to prescribe “their

choice of pain treatment;” 2) eliminates “any future risk of

providers being unable to prescribe their pain medication of

choice;” 3) “permits PCPs9 to order specialty pain consults for a

patient;” and 4) “vests with PCPs the ultimate decision of

whether the follow” a specialist’s recommendations. (Moores PH

Br. at 3-5.)10 Doctors Moores and Kahn also reviewed some of the

additional steps they have taken to ensure compliance with

Policy 1.24A. (Id. at 6; Feb. 6 Tr. at 47:20-50:13, 57:1-22;

dkt. no. 537 (“Feb. 7 Tr.”) at 169:24-170:17.)

        Dr. Moores and Dr. Kahn largely provided testimony relevant

to Plaintiffs’ first cause of action and not the second. Neither

Dr. Moores nor Dr. Kahn discussed the issues raised in


8 Dr. Moores declared that she became CMO of DOCCS on July 18,
2022. (Moores Decl. at ¶ 10.)

9    Primary care physician.

10   See Policy 1.24A supra, at 4-6, n.5.
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Plaintiffs’ preliminary injunction motion regarding ongoing

deprivations of pain medication, including DOCCS’ failure to

identify and reassess patients whose pain medications were

discontinued under the MWAP Policy, failure to train DOCCS

medical providers on Policy 1.24A, or instances when patients’

pain medications are currently being discontinued without

medical justification, such as upon transfer to a new facility

or following allegations of misuse.

    The Court found both Dr. Moores and Dr. Khan to be credible

witnesses. For example, Dr. Moores was forthright in

acknowledging the failures of her subordinates (and indeed she

removed one, Dr. Paula Bozer, for failing to approve non-

formulary requests properly). (Feb. 6 Tr. at 100:22-101:20,

107:10-20.) The problem is that Dr. Moores’ subordinates are not

with the program – Policy 1.24A. As will be set out below in

more detail, they still deny MWAP medications because “we don’t

do that here” and the like, or because an inmate transferred to

a different facility.

    And there has been no organized effort to encourage the

DOCCS medical providers to get with the program. As Dr. Moores

acknowledged, no effort has been made to identify those inmates

whose pain medications were discontinued without medical reason

under the MWAP regime (id. at 79:6-15), medical providers


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received no training on Policy 1.24A (id. at 70:13-22), and no

training on how to perform individualized assessments or why

they were being performed, (id. at 71:24-72:6).

    Because the issues of fact presented pertain to the time

after Policy 1.24A was adopted, that is, after February 2021,

the Court only makes finding as to that time period; it does not

make findings here about the apparently numerous examples

demonstrated in this record of deprivations of inmates’ pain

medications without medical justification under the prior MWAP

policy.

    B. Plaintiffs Evidence

    Plaintiffs called several putative class members and PCPs

to offer testimony about the ongoing violations in the DOCCS

medical system.

          i.   Plaintiffs Lose MWAP Medications for Non-Medical
               Reasons

               a. Testimony of Mali Wilkerson

    Mr. Mali Wilkerson suffers from sickle cell anemia (Feb. 7

Tr. at 247:18) and needs narcotic pain medication to manage his

pain and prevent sickle cell crises, hospitalization, and death,

(id. at 257:17-258:8). Mr. Wilkinson testified that when he is

not able to take medication, he suffers from “a lot of pain,”

cannot move around or care for himself, and that he “can’t

really function.” (Id. at 257:21-25.) Mr. Wilkerson testified
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that in 2021 at the Green Haven Regional Medical Unit (“RMU”),

he was prescribed OxyContin, which “relieved a lot of [his]

pain.”    (Id. at 268:16-269:12.)

       Mr. Wilkerson testified that when he was transferred from

Green Haven Correction Facility (“Green Haven”) to Marcy

Correctional Facility (“Marcy”) around April 2022,11 the nurse at

Marcy informed Mr. Wilkerson that “this is a facility that we

don't give out pain meds here” and “it's not worth it to fight

because it just doesn't happen here.” (Id. at 271:11-272:6.)

Mr. Wilkerson testified his prescription for OxyContin was

discontinued before he met with a doctor. (Id. at 272:7-11.)

Mr. Wilkerson said that when he did see the doctor, Dr. Burke

confirmed that Mr. Wilkerson could not get OxyContin at Marcy;

Dr. Burke said his “hands [we]re tied because this is how DOCCS

does things.” (Id. at 272:14.) Mr. Wilkerson testified that he

did not agree to discontinue his medication and that he was

without his medication for around nine days.12 (Id. at 273:14-

24.)

       Dr. Moores asserts in post-hearing briefing that “[t]here

is nothing in Plaintiffs' medical records to support


11   Plaintiffs’ papers say May 19, 2022. (Pl. PH Br. at 11.)

12The Court notes that Mr. Wilkerson’s prescription was
reinstated after a conference between the Court and the parties
on May 27, 2022. (See dkt. nos. 375-377.)
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Mr. Wilkerson's claims.” (Moores PH Br. at 10.) The records at

issue show an initial entry on May 20, 2022, that reflects

Mr. Wilkerson’s discussing his MS Contin prescription from his

previous facility and wanting to “know what’s going to happen

now.” (Dkt. no. 480-25 at M Wilkerson 309.) The entry ends with

the note “Provider to review chart.” (Id.) Next, there is

another entry from May 20, 2022, ostensibly written by

Dr. Burke, listing medications including Tylenol and Ibuprofen,

but not MS Contin. (Id. at M Wilkerson 314.)

    The Court then held a conference with counsel on May 27,

2022 at 1:00 p.m. (Dkt. no. 376.) During the conference, State

Defendants’ counsel professed to have spoken with Dr. Burke that

morning and repeated that Mr. Wilkerson had agreed to

discontinue his medication.

    Dr. Burke made an entry dated May 27, 2022, at 9:30 a.m.

(perhaps after speaking with counsel) that reads:

    I discussed the ongoing use of MS Contin . . . with the
    inmate. He stated that he does not always use the
    medication and that he would be willing to try to stay
    off it using Tylenol and Ibuprofen in its place. I
    discussed addition & potential side effects with him
    today on on the day of 5/20/22.

(Dkt. no. 480-25 at M Wilkerson 314.) The date of the entry that

follows immediately thereafter is in dispute. Dr. Burke wrote

May 23 on the date line, but the nurse initialed the

prescription on May 27. Based on the testimony and records, the


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Court finds that the entry was written on May 27 and Dr. Burke

ordered MS Contin for Mr. Wilkerson the same day – a week after

he arrived at the facility and a week after his medication was

discontinued. (Id.)

    The Court found Mr. Wilkerson to be credible, particularly

with respect to his virtually lifetime history with his disease.

He also had accurate recall of dates, events, medications, and

conversations with medical providers. Mr. Wilkerson testified

credibly as to his interactions with Dr. Burke, including that

he did not agree to discontinue his OxyContin and that he asked

that it be prescribed. (Feb. 7 Tr. at 273:14-21.)

    The Court finds that Mr. Wilkerson was deprived of his pain

medication without medical cause at Marcy from May 20 through

May 27, 2022, by a medical provider with the requisite culpable

state of mind. Mr. Wilkerson’s testimony also establishes a

violation of Policy 1.24A’s requirement that an inmate’s pain

medication not be discontinued without a documented discussion

of the reasons for such discontinuance. His credible testimony

that DOCCS providers told him “this is a facility that we don’t

give out pain meds here,” “it’s not worth it to fight because it

just doesn’t happen here,” and our “hands are tied because this

is how DOCS does things” – even in the face of Policy 1.24A -

illustrates the necessity of an injunction.


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             b. Testimony of Claudio Johnson

    Mr. Claudio Johnson suffers from “chronic lower back pain

stemming from a 1990 bullet wound” followed by spinal fusions.

(Pl. PH Br. at 13; Feb. 7. Tr. at 281:11-22; 282:9-22.)          After

his surgeries, he was prescribed Neurontin, morphine, and

Percocet (Feb. 7 Tr. at 286:2-6), though Mr. Johnson testified

that he was then transferred to Green Haven, where his

medications were discontinued, (id. at 286:12-287:2).

Mr. Johnson was subsequently transferred to Marcy, and

Plaintiffs previously represented to the Court that while at

Marcy on June 18, 2021, Mr. Johnson’s Neurontin prescription was

reinstated following the rescission of the MWAP Policy. (Dkt.

no. 304 at 1.)

    Mr. Johnson was transferred from Marcy to Woodbourne

Correctional Facility (“Woodbourne”) on August 10, 2021. (Dkt.

no. 354-23 at C Johnson 592.) Mr. Johnson testified that, like

Mr. Wilkerson, when Mr. Johnson was transferred to Woodbourne,

the Neurontin he received at Marcy was discontinued. (Feb. 7 Tr.

at 289:15-20; 297:1-4.) Mr. Johnson said that two weeks after he

arrived at Woodbourne, he met with a Dr. Ruiz, who told him that

“we don’t give the Neurontin out in Woodbourne.” (Id. at 289:19-

290:1.) After Court intervention (Pl. PH Br. at 14), Mr. Johnson

was transferred back to Marcy where he was re-prescribed

Neurontin. (Feb. 7 Tr. at 288:25-289:1, 291:1-5.) Mr. Johnson
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testified that when he did not receive medications for his

chronic pain, the pain became “[s]evere, I mean excruciating.”

It was “hard for [him] to get out the bed, go to the bathroom.

It was hard for [him] to do daily activities, period.” (Id. at

287:13-19.)

    Dr. Moores explains in post-hearing briefing that

Dr. Ruiz’s discontinuation of Mr. Johnson's Neurontin

prescription was a product of Dr. Ruiz’s medical judgment that

“Neurontin raised Mr. Johnson's risk of a potentially fatal

blood clot, so she prescribed him Celebrex for his pain

instead.” (Moores PH Br. at 8.) Dr. Moores casts the decision to

transfer Mr. Johnson back to Marcy as an opportunity for

Mr. Johnson to “consult with a different provider and receive a

different opinion” because Dr. Ruiz was “unwilling to compromise

her own medical judgment that the risk of prescribing Neurontin

to Mr. Johnson was too high given his medical history.” (Id. at

9.) In turn, Plaintiffs assert that the record shows

Mr. Johnson’s risk of blood clots is “not affected by [his] use

of Neurontin.” (Pl. PH Br. at 14, citing dkt. nos. 307, 308, and

308-1.)

    The Court found Mr. Johnson to be a credible witness,

particularly with respect to interactions with DOCCS providers.

He was not as precise as others on dates and was initially


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confused over what he takes Coumadin for. (See Feb. 7 Tr. at

292:23-293:6.)13

     Dr. Carinci opines:

     Upon Mr. Johnson’s transfer back to another prison, his
     medications were once again discontinued without medical
     justification. Even after Mr. Johnson’s Neurontin was
     finally represcribed in 2021, his effective medication
     was once again discontinued with no medical rationale.
     Counsel in this case had to arrange Mr. Johnson’s
     transfer back to his previous facility so his Neurontin
     could be reinstated.

(Carinci Rep. at 23.) Dr. Mehta’s report14 does not appear to

cover this time period. (See Mehta Rep. at 33; Mehta Reb. Rep.

at 132-133.)



13   Q. If you know, what do you take the Coumadin for?

     A. Coumadin is for my back pain.

     Q. And the Celebrex, what do you take that for?

     A. It’s for my back pain.

     Q. And how about the Neurontin, back pain?

     A. Back pain. The Coumadin is for blood thinners. I'm
        sorry.

     Q. That's okay. So Celebrex and Neurontin for back pain
        and the Coumadin for blood thinners; right?

     A. Yes.

(See Feb. 7 Tr. at 292:23-293:6.)

14As reflected in the Court’s opinion precluding Dr. Mehta’s
expert report, out of an abundance of caution, the Court will
still consider Dr. Mehta’s report in its preliminary injunction
analysis. (Dkt. no. 550 at 15.)
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    The Court finds that Mr. Johnson was deprived of pain

medication by a provider with the requisite culpable state of

mind, starting on or about August 10, 2021, when he was

transferred to Woodbourne, until he was transferred back to

Marcy. It was only after Plaintiffs’ counsel’s intervention that

he was transferred back to Marcy and represcribed pain

medication. The Court also finds that Dr. Ruiz failed to comply

with Policy 1.24A in failing to explain to Mr. Johnson the

supposed medical reason for discontinuing his pain medication.

             c. Testimony of Aaron Dockery and Nurse Practitioner
                Amy Ferguson

    Mr. Aaron Dockery was diagnosed with multiple sclerosis in

2016. He was given Neurontin to “help with the tingling in [his]

hands and [his] feet” and Baclofen to manage “muscle spasms in

[his] legs.” (Feb. 6 Tr. at 119:2-20, 131:1-7.) Mr. Dockery

described the tingling in his extremities as being painful and

inhibiting his ability to walk. (Id. at 119:24-120:22.) He

testified that on December 2, 2022, while he resided at Marcy,

his medication was discontinued because he “refused to let a

nurse flash a flashlight in [his] mouth before she wiped it

down.” (Id. at 129:5-18.) Mr. Dockery clarified that his

objection was not to the use of the flashlight for a mouth check

(“they do have a right to use a flashlight,” id. at 129:23) but

to the fact that the flashlight had been very close to other


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patients’ mouths directly before the check and Mr. Dockery did

not want the flashlight close to his mouth unless it was

cleaned. (Id. at 129:24-130:13.)15 Mr. Dockery testified that he

learned his medication had been discontinued only when he went

to the nurse’s window to receive the medication. (Id. at 130:22-

131:13.) Mr. Dockery said that no medical provider discussed the

discontinuation with him prior to his learning of it at the

nurse’s window and he was not given the chance to explain why he

refused to take his medication on December 1, 2022. (Id. at

131:14-24.) Mr. Dockery’s medications were reinstated on




15   Q. Do you have any objection to a nurse using a
     flashlight to make sure you're taking your medication
     while at Marcy?

     A. Not at all.

     Q. What was your objection?

     A. So my objection was the previous day, I allowed her
     to do it, but the second day, there was five other
     gentlemen, they were part of the MAT program [a substance
     abuse program]. So, really, the flashlight, it was
     really reserved for those guys, and she puts it really
     close to their face. This was the time we just had a
     COVID outbreak, we had the flu going on, and we had some
     other respiratory illnesses that was going on. I'm
     watching her flash the other guys, and when she goes to
     put the flashlight in my face, I see specs [sic.] on the
     lens. I asked her, can you please wipe the flashlight
     down before you stick the flashlight so close into my
     face. She told me she didn't need to.

(Feb. 6 Tr. at 129:24-130:13.)


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December 24, 2022, leaving Mr. Dockery without his medication

for twenty-two days. (Pl. PH Br. at 17.)16

     Nurse Practitioner (“NP”) Amy Ferguson and NP Brandi Lynn

Corigliano are the two medical providers who work at Marcy;

there is no physician employed there. (Feb. 7 Tr. at 208:9-25.)

Together, NPs Ferguson and Corigliano are responsible for eight

or nine hundred patients. (Id. at 209:10-16.) Mr. Dockery was

normally NP Corigliano’s patient. (Id. at 222:3-7.)

     NP Ferguson testified that she discontinued Mr. Dockery’s

Neurontin because she had been informed that he had refused a

mouth check to administer the Neurontin three times and DOCCS

has a policy that a patient’s third refusal of medication

“results in a discontinuation.” (Id. at 223:2-224:9, 225:24-25.)

NP Ferguson testified that she did not prescribe any alternative

for Mr. Dockery to manage his multiple sclerosis pain. (Id. at

229:18-20). Indeed, NP Ferguson testified that she did not know

why Mr. Dockery was taking the Neurontin when she discontinued

it and that she did not talk to Mr. Dockery before discontinuing

his Neurontin prescription. (Id. at 226:1-25.) She also

testified she had not received any training that she should sit


16Mr. Dockery’s medication was only reinstated on December 24
after the Court and the parties discussed the issue in two
separate conferences on December 23, 2022. (See dkt. no. 496 at
23:21-27:7, noting at 24:19 that Mr. Dockery “has muscular
[sic.] sclerosis and autoimmune issues.”)
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down and speak to a patient before discontinuing his or her pain

medications. (Id. at 228:22-25.)

    NP Ferguson testified that she did not know that

Mr. Dockery’s issue was with the flashlight “until [sh]e heard

from legal.” (Id. at 226:24-227:6.) NP Ferguson then testified

that if Mr. Dockery had reported his concerns to sick call or

the nurse team, “this would have been avoided” and “we would

have dealt with it at that time, but instead, here we are.” (Id.

at 226:18-24.) NP Ferguson then reviewed a note from Mr. Dockery

to the nurse administrator dated December 8, 2022, in which he

explained his reasoning for refusing the mouth check. (Id. at

227:21-228:15.) Apparently, NP Ferguson did not see the note at

the time because she is not the nurse administrator. (Id. at

227:24-228:15.) Mr. Dockery’s medications were not restored

until December 24, 2022 – some twenty-two days after they were

discontinued and then only after Court intervention. (Pl. PH Br.

at 17.)

    NP Ferguson also reviewed a page from Mr. Dockery’s medical

records and testified that the records stated that on November

9, 2022, Mr. Dockery was “was brought to medical and possibly

under the influence of an unknown substance. Slow to respond.”

(Feb. 7 Tr. at 231:9-13.) NP Ferguson said that Mr. Dockery “may

have been high on something” and was “brought to medical to be


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evaluated.” (Id. at 231:15-16.) NP Ferguson also testified that

when a patient refuses to follow procedures for receiving

medication, the patient might be diverting his medication, and

Mr. Dockery’s medical records “possibly” suggested a substantial

risk of diversion. (Id. at 233:9-234:12.) NP Ferguson said that

a patient presenting a substantial risk of diversion generated

concerns that might impact the decision to continue the

patient’s medication, such as concerns for patient safety

stemming from possible overdose. (Id. at 234:13-235:14.)

    Mr. Dockery testified that he had used marijuana once while

incarcerated, been disciplined for marijuana use twice, and

participated in an alcohol and substance abuse treatment

program. (Feb. 6. Tr. at 134:12-23.) Mr. Dockery denied being

high when he was brought down to sick call by security on

November 9, denied that he had been under the influence of a

substance not prescribed to him, and denied slurring his words.

(Id. at 137:8-19.)

    In post-hearing briefing, Dr. Moores presents NP Ferguson’s

decision to discontinue Mr. Dockery’s medications as resulting

from NP Ferguson’s concerns regarding diversion and

Mr. Dockery’s safety. (Moores PH Br. at 7.) However, NP Ferguson

was clear in her testimony that she discontinued Mr. Dockery’s

medications solely because he refused the mouth check three


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times. Because Mr. Dockery’s alleged prior drug use did not play

a part in NP Ferguson’s decision to discontinue Mr. Dockery’s

pain medication, the Court does not consider it. NP Ferguson was

also clear that she did not follow up either before or after the

discontinuation of pain medication to explain to Mr. Dockery why

it had occurred or to understand Mr. Dockery’s reasons for

refusing the mouth check.

    The Court found Mr. Dockery to be a credible witness. He

was forthright in acknowledging efforts made by DOCCS providers

to “really fight for [him],” e.g., Feb. 6. Tr. at 125:3-15, and

that he felt the doctors “were trying to treat [him] with

medications as an alternative to Neurontin,” (id. at 134:9-11).

The Court also credits his testimony that he saw “specs [sic.]

on the lens” of the flashlight. (134:6-10.)

    The Court did not find NP Ferguson to be a credible

witness. Her attitude and demeanor were antagonistic to

Plaintiffs’ counsel, and she volunteered information she

believed would be helpful. See, e.g., Feb. 7 Tr. at 227:24-

228:1; 228:5-6; 229:1-11. The Court is also skeptical of

NP Ferguson’s testimony that the flashlight supposedly used by

Nurse Riley in attempting the mouth check on Mr. Dockery was

“wider than an inmate’s mouth” (id. at 236:19-237:2), and that

it was held “6 to 12 inches” from his mouth (id. at 236:8-10).


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     The Court finds that the discontinuation of Mr. Dockery’s

pain medication from December 2 to December 23, 2022, was

without a medical reason. As noted above, Mr. Dockery suffers

from multiple sclerosis and is immunocompromised. He credibly

testified that he saw the nurse put her flashlight in or near

five other inmates’ mouths, saw “specs [sic.] on the lens,”

asked the nurse to clean the flashlight, and she refused. Even

if that were a legitimate medical reason for the discontinuance,

NP Ferguson failed to explain to Mr. Dockery why his pain meds

were discontinued17 and failed to prescribe an alternative – a

clear violation of Policy 1.24A.

       ii.   DOCCS Fails to Adequately Treat Plaintiffs’ Pain

             a. Testimony of Rashid Rahman and Dr. Win

     Mr. Rashid Rahman suffers from “excruciating and chronic

pain in his back and neck as well as numbness in the left side

of his body” resulting from a failed back surgery. (Pl. PH Br.

at 18; dkt. no. 539 (“Feb. 8 Tr.”) at 391:5-392:25.) Following

Mr. Rahman’s surgery, he was housed at the Coxsackie RMU, where

he was prescribed Ultram and Xanax for his pain. (Id. at 393:7-

16.) He was then transferred to the Walsh RMU where he continued

to receive his pain medication. (Id. at 393:17-394:15.) After



17Indeed, had NP Ferguson met with Mr. Dockery as prescribed by
Policy 124.A, she persuasively testified: “we would have dealt
with it at the time.” (Feb. 7 Tr. at 226:22-25.)
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the Walsh RMU, Mr. Rahman was transferred to Shawangunk

Correctional Facility (“Shawangunk”), and his pain medication

was discontinued. (Id. at 394:18-395:14.) Mr. Rahman testified

that the discontinuation of his pain medication left him in

chronic pain, unable to sleep or participate in the outside

medical trips DOCCS scheduled for him. (Id. at 396:19-24.)

Mr. Rahman said that he “continuously expressed [his] pain” to

Shawangunk medical staff, that Ultram helped with his pain, and

asked for his Ultram prescription to be reinstated. (Id. at

396:25-397:8.)

    Mr. Rahman said that he continued these communications with

his current provider, Dr. Win, asking “all the time” to be put

back on Ultram. (Id. at 398:8-19.) Mr. Rahman said that Dr. Win

told him that he could not give Mr. Rahman Ultram unless he sent

Mr. Rahman out to see a specialist. (Id. at 398:20-23.)

Mr. Rahman saw a pain specialist, Dr. Hussein, in April 2021 and

Mr. Rahman said that Dr. Hussein told him that he would

prescribe Ultram for him. (Id. at 398:24-399:18.) When

Mr. Rahman returned to Shawangunk and did not receive Ultram, he

again asked Dr. Win about it. Mr. Rahman said that Dr. Win told

him he could only receive Ultram if Mr. Rahman went to the

infirmary. (Id. at 399:22-401:5.) Mr. Rahman said that going to

the infirmary was like being held “hostage” and that there was

no reason he needed to go to the infirmary and be away from his
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cell or general population to receive medication that was

approved. (Id. at 401:6-13.)18

     Dr. Win testified that he serves as the facility health

services director for Shawangunk. (Id. at 360:19-21.) He

reviewed some of Mr. Rahman’s medical records, including a

report of consultation form filled out by Dr. Hussein. (Id. at

372:16-374:21; Ex. P-10 “Rahman, Rashid” at R Rahman 299.)

Dr. Hussein’s report included a plan of care with three parts:

1) schedule a cervical epidural steroid injection; 2) something

regarding certain vertebrae in Mr. Rahman’s back; and

3) “consider” using Ultram. (P-10 at 299.) Dr. Win testified

that the first part of the plan, the injection, was the

“treatment the pain management recommended.” (Feb. 8 Tr. at

373:10.) Dr. Win said he interpreted Dr. Hussein’s third

instruction to “consider” Ultram to mean that if Dr. Win had “no

other choice” given the other options listed, he could

“consider” using Ultram. (Id. at 374:15-21.) Dr. Win opined that

was why Dr. Hussein wrote to “consider” using the Ultram rather

than writing the prescription amount and frequency. (Id. at

373:5-16, 374:15-19.) When Plaintiffs’ counsel pointed out that




18Dr. Win testified that when a patient has acute medical issues
such as acute pain, he recommends he go to the infirmary for
“better patient-nurses ratio and more higher [sic] level of
care.” (Feb. 8 Tr. at 372:6-15.)
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the second part of Dr. Hussein’s care plan did not appear to be

framed as an alternative to the injection but, rather,

additional directions for Mr. Rahman’s care, Dr. Win answered

“I cannot interpret the thinking process by the pain specialist.

If you want to ask that type of specialized specialist

recommendation, you have to ask the pain management doctor,

Dr. Hussein.” (Id. at 373:21-374:6.) Dr. Win testified that he

did not see anywhere in Mr. Rahman’s medical records where he

explained to Mr. Rahman why he was not prescribing Ultram. (Id.

at 375:14-18.)

    Mr. Rahman testified on cross that he refused the

injections Dr. Hussein recommended because on the date when the

procedure was scheduled, Mr. Rahman was also scheduled to meet

with Plaintiffs’ counsel and that he was scared to receive the

injections because another DOCCS patient had died recently from

the procedure. (Id. at 404:10-405:18.) Mr. Rahman also testified

that he refused the opportunity to go to a pain management

consult in November 2022 because he “was in excruciating pain”

and he did not understand why he had to “to go out and see the

same pain management again when [he] was already approved for

that same drug.” (Id. at 405:19-407:6.) He also testified that

he was prescribed Ultram when he first arrived at the facility

and that he was not in the infirmary then. (Id. at 408:5-9.)



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    In post-hearing briefing, Dr. Moores notes Mr. Rahman’s

refusing to go to the infirmary to receive the Ultram and

Dr. Win’s testimony that he recommended Mr. Rahman go to the

infirmary so Mr. Rahman could receive a higher level of care.

(Moores PH Br. at 14.) Dr. Moores also notes Mr. Rahman’s

refusals of the injections and the November 2022 pain management

consult without discussing Mr. Rahman’s explanations for why he

refused these services. (Id. at 14-15.) Meanwhile, Plaintiffs

point out that Dr. Win never offered fully to restart Mr.

Rahman’s Ultram prescription; Dr. Win only noted he would give

Mr. Rahman Ultram for “5-7 days” upon admission to the

infirmary. (Pl. PH Br. at 19.)

    Regarding Mr. Rahman, Dr. Mehta’s report states:

    An MWAP and chronic pain reassessment on 11/10/2020 was
    completed.    Pain assessment reported no pain with
    current treatments. No MWAP medications were requested
    by the practitioner. A pain management and neurosurgery
    evaluation were also requested.

(Mehta Rep. at 40.) With respect to the same time period,

Dr. Carinci’s report states:

    In November 2020, he [Mr. Rahman] underwent a
    reassessment which noted his paraplegia and prior
    history of laminectomy, however, the assessment failed
    to note his previous effective treatment with ultram and
    his neuropathic pain.     A subsequent hospital visit
    clearly diagnosed the peripheral neuropathy and a
    specialist recommended treatment with ultram.       This
    recommendation was ignored. In this case, Mr. Rahman’s
    tramadol was discontinued without medical rationale and
    irrespective of his response to the medication and was
    subsequently refused despite a history of efficacious
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    treatment.    There is no evidence             that   effective
    alternatives were prescribed.

(Carinci Rep. at 31.) Dr. Mehta’s rebuttal report opines:

    On 4/19/21, Dr. Hussein from pain management recommended
    scheduling for an epidural and facet procedure and noted
    “consider” Ultram (299). The primary team noted the pain
    specialist recommendations and scheduled the epidural
    injection and facet block and also noted that the pain
    management specialist recommended “consider” Ultram and
    plan to admit to Infirmary for acute exacerbation of
    pain for Ultram treatment due to adverse effects (300).
    Thus, the primary team follow the recommendations of the
    pain specialist and schedule the procedure and also
    considered giving the patient Ultram if needed.

    “Consider” as a recommendation by a specialist leaves an
    open, back-up recommendation to the primary team,
    similar to a plan B option to be viewed in context with
    other treatments as appropriate. In my opinion, it was
    not a strong and absolute recommendation that was denied
    by DOCCS as per Dr. Carinci’s interpretation.

    . . . Thus, based on my review of the chart and the
    patient's history including evaluation by physical
    therapy, occupational therapy, neurology, neurosurgery
    and based on remainder of the chart notes, it is
    medically appropriate to discontinue the Ultram and
    administer alternative treatment. The provider noted the
    patient's history and provided their medical rationale
    in   administering   appropriate   medical   care   with
    appropriate pain management.

(Mehta Reb. Rep. at 207-208.)

    The Court found Mr. Rahman to be a credible witness. In

particular, Mr. Rahman was convincing in his testimony that

after Dr. Win told him he had to be confined in the infirmary to

receive Ultram, “[e]very single time I went to see Dr. Win or

had a call out to see Dr. Win, [I] expressed [my] concerns and

[my] pain to him about my Ultram that was approved.” (Feb. 8.
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Tr. at 401:18-24.) Thus, the Court rejects Dr. Mehta’s finding

that the “[p]ain assessment reported no pain with current

treatments.” (Mehta Rep. at 40.)

    Mr. Rahman was also convincing in his reasons for not

wanting to go to the infirmary:

    Q. Can you tell me, what does it mean to go upstairs in
    the infirmary, does it affect you in any way?

    A. Yes, they hold you hostage in this infirmary in this
    jail. When you go upstairs -- I'm going to use it in the
    terminology and what it really is. There should be no
    reason I can get all my medications at the window that
    I got to go upstairs and be away from my cell or
    population just to retrieve something that was approved.

    Q. Are you allowed to bring your belongings into the
    infirmary?

    A. You're not allowed         to    bring   nothing   up   there,
    absolutely nothing.

(Feb. 8 Tr. at 401:6-17.)

    Q. Mr. Rahman, why did you not want to go and live in
    the infirmary so you can have Ultram medication?

    A. It's not nowhere that any person that is incarcerated,
    that has some form of liberty living in population to
    then live in the infirmary. It just can't work. It's not
    a good thing. Not that I refused my medication, I refused
    the point that why should I, that out of everybody that
    went out to the specialist, why do I, me, have to go up
    to the infirmary to get my medication, why?

    Q. Did he ever explain to you why, Dr. Win?

    A. No. But I know that I was getting my Ultram when I
    first came here. So what's the problem?

    Q. When you were being prescribed and taking Ultram
    before, were you living in the infirmary?

    A. No, I was not.

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(Id. at 407:20-408:9.)

    The Court did not find Dr. Win to be a credible witness.

Aside from his snippy answers about interpreting the pain

specialist’s instructions, essentially “you should ask him, not

me,” (see, e.g., id. at 372:21-374:21), he seemed to know very

little about Mr. Rahman. For example, with respect to performing

Mr. Rahman’s 2020 pain reassessment, Dr. Win testified:

    Q. So if we look at page 283, the second page, the last
    question was, do you believe that it might be beneficial
    to initiate a trial of an MWAP medication at this time.

    A. I put not applicable.

    Q. Why did you put it was not applicable?

    A. There is a scenario there --

    Q. Doctor, can you move forward a little bit. It's very
    hard to hear your voice.

    A. At that time, my clinical assessment of this
    incarcerated individual has other medication so that
    MWAP medication is not needed. That's what I meant on
    that page.

    Q. What other medication was he getting?

    A. If you have the record, show it to me because I cannot
    remember each and every details of these medication.

    Q. So did Mr. Rahman tell you that he was being treated
    effectively with the medication he was on?

    A. I (technical       interruption)    could   you   repeat   the
    question.

    Q. Did Mr. Rahman tell you, when you completed this form,
    that he was not suffering from any pain?

    A. I have to look at that corresponding AHR, the recent
    --around that time, what are the complaints, what are

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    the things that you would see, what are the reasons I
    saw him, I need to see those health records, AHR, that's
    what we call.

    Q. When you completed this form, were you sitting with
    Mr. Rahman?

    A. No. I take it back. I am not positive.

(Id. at 369:7-370:7.) For example, it is truly incredible that

in response to “whether it might be beneficial to initiate a

trial of an MWAP medication,” a question on Mr. Rahman’s MWAP

reassessment form, Dr. Win wrote “not applicable.” (Id. at

368:3-369:10.) Also, Dr. Win often did not answer the question

asked. See, e.g., id. at 378:3-17; id., 379:5-16.


    The Court finds that Mr. Rahman was deprived of his pain

medications without medical reason from the time he arrived at

Shawangunk by a provider with the requisite culpable state of

mind. The Court also finds that Dr. Win failed to follow Policy

1.24A in failing to explain to Mr. Rahman why his pain

medication was discontinued, failing to deal with Mr. Rahman’s

objection to the injections, failing to explain why he did not

follow the pain specialist’s recommendation for Ultram, and

requiring Mr. Rahman to live in the infirmary to receive his

pain medication. Contrary to Dr. Mehta’s view, the Court is

persuaded that Mr. Rahman did not receive effective pain

treatment.




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             b. Testimony of Mark Daniels

    Mr. Mark Daniels suffers from back injuries that

necessitated two spinal fusion surgeries. (Feb. 8 Tr. at 409:10-

24.) He reports dealing with chronic pain in his shoulders,

neck, back, and left foot and losing feeling in his hands,

resulting in “a lot of discomfort.” (Id. at 409:13-410:10.)

Mr. Daniels testified that he has only been given ibuprofen to

manage his pain (id. at 413:5-16), and that without additional

medication he is in “constant pain” and cannot do anything that

he wants to do and he “suffer[s] every day,” (id. at 413:17-

414:4).

    Mr. Daniels testified that he was a plaintiff in this case

because he was “pretty much being denied all medical treatment.”

(Id. at 412:1.) On August 20, 2021, Dr. Hussein met with

Mr. Daniels, and his report recommended that Mr. Daniels be

given Neurontin. (Dkt. no. 349-38 at M Daniels 220.) On

Mr. Daniels’ medical record, Dr. Lee wrote “consider Neurontin”

and “refer to Dr. Win” but did not record why he did not order

the prescription. (Id. at 221.) Mr. Daniels testified that

Neurontin “really didn’t work for [him]” and gave him stomach

problems (Feb. 8 Tr. at 411:15-17), and that the ibuprofen he

currently takes for his pain is about as effective in treating

his pain as the Neurontin he once received, (id. at 413:10-16).

Mr. Daniels testified that he requested that Dr. Lee prescribe
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him something other than Neurontin for his pain but “nothing was

given” to him. (Id. at 412:15-17.) On May 20, 2022, Dr. Hussein

again met with Mr. Daniels and noted that “patient may benefit

from medical treatment.” (Dkt. no. 480-7 at M Daniels 239.)

Mr. Daniels testified that prior to his surgeries, he received

Ultram to manage his pain and Ultram was effective. (Feb. 8 Tr.

at 411:19-24.)

    Dr. Moores responds in post-hearing briefing that

Mr. Daniels has received medical treatment. Dr. Moores notes

that Mr. Daniels met with pain specialists in June and August of

2021 who “recommended that Plaintiff Daniels receive cervical

epidural steroid injections and that pain medications be

considered as possible additional treatment.” (Moores PH Br. at

16; dkt. no. 349-38 at M Daniels 212, 220.) Dr. Moores notes

that on December 1, 2021, Mr. Daniels refused the recommended

steroid injection, though Mr. Daniels refused to sign the

refusal form. (Dkt. no. 480-7 at M Daniels 229.) Dr. Moores also

points out that Mr. Daniels eventually received an epidural

injection in March 2022. (Id. at 232.)

    Plaintiffs reply that in his May 20, 2022 report, right

above where he wrote that Mr. Daniels may benefit from medical

treatment, Dr. Hussein also wrote “no need for injection for the

time being.” (Id. at 239.) Given that specialists have


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recommended Mr. Daniels receive Neurontin or other medical

treatment, and knowing Neurontin does not work for Mr. Daniels,

Plaintiffs ask why Dr. Win has not tried prescribing alternative

pain medication beyond ibuprofen. (Pl. PH Br. at 20-21.)

       Dr. Mehta reports that in his November 10, 2020

reassessment, Dr. Win wrote that “[Mr. Daniels] was noted to be

in pain, but mainly to ‘have it on file.’ He was referred for

further neurosurgery management on 11/12/2020.” (Mehta Rep. at

25.)

       Dr. Carinci opines that “[t]he reassessment that was

performed was inadequate as it did not address critical aspects

of the [sic.] Mr. Daniels’ medical history including the fact

that he had myelopathy, nor did it address the fact that several

specialists had made medication recommendations including trials

of Lyrica and baclofen. Mr. Daniels is obviously in pain and has

not been effectively treated.” (Carinci Rep. at 15.)

       In rebuttal, Dr. Mehta opines:

       Dr Hussein, the pain specialist did not recommend any
       change in pain medication during 6/18/21 visit and
       recommended cervical epidural injection and facet block
       (212). . . .

       Dr Hussein on 8/20/21 visit, planned to schedule patient
       for cervical epidural injection and also noted “consider
       neuropathic   pain   meds,   Neurontin   or   Trileptal,
       nortriptyline to help with the sensory discomfort”
       (220). Thus, the primary team had to balance painted
       care   [sic.]   with    differing   recommendation   for
       medications based on specialist recommendations and the


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    patient’s history and        decided   to   continue   with   an
    appropriate course.

(Mehta Reb. Rep. at 65.)

    The Court found Mr. Daniels to be a credible witness

although with less-than-perfect recall of his medication

history. He was credibly adamant, however, that he is in

constant pain with no effective medications being offered.

Accordingly, the Court rejects Dr. Mehta’s conclusion that the

course of treatment was “appropriate” because it did not assist

with Mr. Daniels’ pain and thus finds that Mr. Daniels has been

unlawfully denied effective pain treatment since at least August

20, 2021 by a provider with the requisite culpable state of

mind. The Court also finds that Mr. Daniels’ medical providers

violated Policy 1.24A in failing to explain why they did not

follow the pain specialist’s recommendations.

             c. Testimony of Felipe Rivera-Cruz

    Mr. Felipe Rivera-Cruz suffers from pain resulting from

having been shot seventeen times in Puerto Rico in August 2003.

(Feb. 8 Tr. at 319:5-10.) He testified that when he started

treatment at Mount Sinai in 2003, he was given Lyrica to manage

his pain, which he described as helpful. (Id. at 321:17-322:1.)

Mr. Rivera-Cruz said that he received Lyrica continuously from

when he arrived at Mount Sinai in 2003, through his entry into

the DOCCS system, until he arrived at Shawangunk in 2015 when

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his medication was discontinued. (Id. at 322:20-324:8.) Dr. Lee

told him “that medication had been discontinued by the company.”

(Id. at 325:10-13.) Mr. Rivera-Cruz testified that when he does

not take Lyrica, he feels “pain all over [his] body,” his nerves

jump, his legs cramp, and he cannot sleep. (Id. at 325:19-24.)

He also testified that he is not currently receiving medication

to manage his pain. (Id. at 326:11-14.)

     Mr. Rivera-Cruz said that in October 2022, he was sent to a

hospital for five days to treat an infection in his legs (id. at

328:3-19),19 and that while he was at the hospital, he received

morphine to manage his pain, (id. at 328:20-24.) Mr. Rivera-Cruz

said that since his return to Shawangunk, no medical provider

examined him or discussed with him what was going on with his

legs. (Id. at 330:21-331:1.) Mr. Rivera-Cruz also testified that

he was not aware of any treatment plan that had been proposed

regarding his legs, that he was told he had been signed up to

see an outside doctor, but that DOCCS had not yet contacted him

regarding that appointment. (Id. at 331:2-6.)20



19Mr. Rivera-Cruz appeared to misspeak about the date of the
hospital visit, testifying that it occurred in October 2002.
(Feb. 8 Tr. at 333:19-23.) However, the parties appear to agree
that the visit occurred in October 2022. (See Moores PH Br. at
12; Pl. PH Br. at 21.)

20Separate from the issues in this case, the Court finds it
concerning that Mr. Rivera-Cruz does not seem to have received
any immediate follow-up, communication, or (footnote continued)
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    Mr. Rivera-Cruz testified that when his Lyrica prescription

was discontinued at Shawangunk, he spoke to his medical

provider, Dr. Lee, about his pain and his medication, saying

that he needed Lyrica and not aspirin or some other type of

medication. (Id. at 324:12-21, 325:7-9.) He also testified that

he speaks Spanish and he has never been provided with an

interpreter for his meetings with his medical providers; he

“get[s] by with the very little English that [he] know[s].” (Id.

at 324:22-325:6.) Mr. Rivera-Cruz said that he had not informed

Dr. Win about the effect Lyrica has on his pain because the

language barrier prevented him from explaining (id. at 332:2-5)

and because Dr. Win was “not the one who discontinued it,” (id.

at 335:17-20).

    Dr. Moores asserts in post-hearing briefing that Dr. Win

has never denied Mr. Rivera-Cruz Lyrica and never discontinued a

Lyrica prescription for Mr. Rivera-Cruz. (Moores PH Br. at 12.)

Dr. Moores writes that Mr. Rivera-Cruz has received other

medical care while in DOCCS custody, including years of physical

therapy. (Id.; dkt. nos. 490-24, 25, and 26.) Dr. Moores cites

to one medical record entry from August 12, 2022, that noted

Mr. Rivera-Cruz “denies pain.” (Dkt. no. 490-25 at Moores-2920.)

Dr. Moores also cites records from August 12, 2022 (dkt. no.


(footnote continued) treatment from DOCCS medical personnel
following a five-day hospital stay.
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490-24 at Moores-2873; dkt. no. 490-25 at Moores-2919), and

September 26, 2022 (dkt. no. 490-24 at Moores-2866), that show

Mr. Rivera-Cruz received Botox injections for his pain. (Moores

PH Br. at 12.)21 Finally, Dr. Moores notes that Mr. Rivera-Cruz

testified he had recently been signed up for an outside medical

consultation. (Feb. 8 Tr. at 331:2-6.)

     The Court found Mr. Rivera-Cruz to be a credible witness,

although sometimes confused about dates and whether he signed a

document or not. He was, however, adamant – and credible – that

he had not been given effective pain medication after his

October 2022 hospitalization. The Court also finds that Mr.

Rivera-Cruz was never given an explanation – much less one he

could understand – about why his pain medication was

discontinued.

             d. Testimony of Julio Moronta

     Mr. Julio Moronta suffers from chronic lower back pain that

affects his ability to sleep. (Feb. 8 Tr. at 342:18-343:3.)

Mr. Moronta testified that at Sullivan Correctional Facility

(“Sullivan”), he had been prescribed Neurontin and the

medication made him “feel somewhat better. It would kind of put



21The Court notes that these Botox injections both preceded
Mr. Rivera-Cruz’s recent hospital visit for his leg infection,
where he was treated with morphine to manage his pain. See
supra, at 39, n.19.
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[him] to sleep and it would calm the pain. It wasn't like it

would completely go away either,” (id. at 344:6-13.) Mr. Moronta

testified that his Neurontin prescription was discontinued (id.

at 344:14-16) and that he had been prescribed alternative

medications for his pain but that he would always go back and

ask for something else because what his providers prescribed

“was not really having any effect,” (id. at 345:25-346:14.)

Mr. Moronta testified that he told a previous provider,

Dr. Diaz, sometime before she left in 2013 or 2014, about the

fact that Neurontin helped with his pain. (Id. at 346:15-

347:15.) Mr. Moronta said that he attempted to communicate with

his current provider, Dr. Guzman, about the pain he experienced

through notes written by others because Mr. Moronta only speaks

Spanish and Dr. Guzman does not understand Spanish. (Id. at

347:25-348:15.) Mr. Moronta said that despite his communications

regarding his pain, his providers at Eastern Correctional

Facility (“Eastern”) “never pa[id] any mind” and have not

explained why Mr. Moronta is not receiving Neurontin. (Id. at

348:16-21.) Mr. Moronta testified that at some point during his

time at Eastern, he received injections that relieved his pain

for a few months at a time, but that it had been at least a year

since he last received an injection despite his requesting them.

(Id. at 348:22-349:18.) Mr. Moronta said he thought he was

currently receiving Cymbalta but he did not understand what the

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 Cymbalta did because it “doesn’t create any effect.” (Id. at

 354:24-355:7.) Mr. Moronta also testified that he had not seen a

 pain management specialist in the last twelve months, that he

 had been referred for a pain management consultation in the

 fall, but that it had not yet occurred. (Id. at 355:8-23.)

       The Court found Mr. Moronta to be credible but often

 imprecise about time periods, pain specialists, and his

 medications. Mr. Moranta was, however, clear and credible in

 testifying that he has received injections that effectively

 treat his pain for about three months at a time, but he has not

 received them in “a year-plus or even two years.” (Feb. 8 Tr.

 349:17-18.) Thus, the Court finds that Mr. Moranta has been

 denied effective pain medication for one to two years.

III.   Defendants’ Fed. R. Civ. P. 12(b)(1) Motions to Dismiss and
       Voluntary Cessation Doctrine
       A. Legal Standards

       On a Rule 12(b)(1) motion to dismiss for lack of subject

 matter jurisdiction “[t]he plaintiff bears the burden of

 alleg[ing] facts that affirmatively and plausibly suggest that

 it has standing to sue.” Cortlandt St. Recovery Corp. v. Hellas

 Telecommunications, S.À.R.L, 790 F.3d 411, 417 (2d Cir. 2015)

 (quotation marks and citations omitted). The Court “accept[s] as

 true all material allegations of the complaint[ ] and . . .



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construe[s] the complaint in favor of the complaining party.”

Id. (quotation marks and citations omitted).

    “A case becomes moot only when it is impossible for a court

to grant ‘any effectual relief whatever’ to the prevailing

party.” Am. Freedom Defense Initiative v. MTA, 815 F.3d 105, 109

(2d Cir. 2016) (“AFDI”) (citing Knox v. Serv. Emps. Int'l Union,

Local 1000, 567 U.S. 298, 307 (2012)). “The voluntary cessation

of challenged conduct does not ordinarily render a case moot

because a dismissal for mootness would permit a resumption of

the challenged conduct as soon as the case is dismissed.” Knox,

567 U.S. at 307. As a threshold matter, when a defendant claims

to have voluntarily ceased the challenged conduct, a court must

determine:

    whether the challenged conduct has, in fact, ceased. A
    claim will not be found moot if the defendant's change
    in conduct is “merely superficial or . . . suffers from
    similar infirmities as it did at the outset.” The
    relevant question is whether the defendant's conduct has
    been “‘sufficiently altered so as to present a
    substantially different controversy from the one’ that
    existed when . . . suit was filed.”

AFDI, 815 F.3d at 109 (quoting Lamar Advertising of Penn, LLC v.

Town of Orchard Park, New York, 356 F.3d 365, 378 (2d

Cir.2004)). Even when a court is convinced that the defendant

has sufficiently altered its conduct, voluntary cessation can

only render a case moot if “(1) it can be said with assurance

that there is no reasonable expectation that the alleged


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violation will recur and (2) interim relief or events have

completely and irrevocably eradicated the effects of the alleged

violation.” Id. (quoting Cty. of Los Angeles v. Davis, 440 U.S.

625, 631 (1979)) (quotation marks omitted).

    “Some deference must be accorded to a [legislative body's]

representations that certain conduct has been discontinued.”

Lamar, 356 F.3d at 376 (quoting Harrison & Burrowes Bridge

Constructors, Inc. v. Cuomo, 981 F.2d 50, 59 (2d Cir. 1992))

(alteration in original). “[D]eference to the legislative body's

decision to amend is the rule, not the exception.” Id. at 377

(quoting Harrison, 981 F.3d at 61). However, for other

government entities, the Court must give “some deference” only

to their representations on whether they would revert to the

previous policy or conduct. Cf. AFDI, 815 F.3d at 110 (after

analyzing whether the MTA’s conduct was sufficiently altered,

held that the MTA’s representations regarding reversion were

entitled to some deference).

    B. Discussion

    In their moving papers, the SRDs argue that Plaintiffs’

equitable claims are moot because DOCCS rescinded the MWAP

Policy on February 8, 2021, and replaced it with Policy 1.24A.

The SRDs assert that Policy 1.24A gives Plaintiffs the relief

they sought in this lawsuit: individualized assessment of


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patients and the ability of primary care providers to prescribe

appropriate medications without interference by the RMDs. (SRD

12(b)(1) Br. at 8.)22 Dr. Moores asserts that Plaintiffs lack

standing to assert their claims because they have “failed to

allege any injury based on Policy 1.24A.” (Moores 12(b)(1) Reply

at 4.)

     Plaintiffs “concede that rescinding MWAP and removing the

RMDs mooted any claims for injunctive relief based on their

First Claim for Relief.” (Pl. PH Br. at 1.) However, the

equitable relief that Plaintiffs now seek is tied to their

second claim for relief regarding discontinuation of MWAP

medications “regardless of the patient’s medical needs.” (SAC at

¶ 1063.) This connection is further reinforced by the equitable

measures Plaintiffs seek in the SAC. (SAC at ¶ 1108 (achieve

individualized assessments of Plaintiffs’ MWAP needs, create a

monitoring body to ensure patients who require MWAP medications

are only denied them following a comprehensive individualized

assessment).) Plaintiffs’ second claim for relief exists

independent from the MWAP Policy.       Rather, Plaintiffs challenge


22The SRDs also contend that DOCCS’ rescission of the MWAP
Policy is entitled to deference. (SRD 12(b)(1) Br. at 10.)
The Court finds that it need not defer to Defendants’
representations on whether the violative conduct has, in fact,
ceased, because none of the defendants is a legislative body.
The Court will, however, give appropriate deference to
Dr. Moores’ representations that she will not revert to the MWAP
Policy.
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“the ongoing violations created by continued denials and

discontinuations at transfer and other times based on the abuse

potential of MWAP medications alone.” (Pl. PH Br. at 2.)

    Defendants’ standing and mootness arguments fail for the

same reason: the Court finds that the injuries alleged in the

second claim in the SAC continue today. In the SAC, Plaintiffs

alleged that DOCCS medical providers deny or discontinue

patients’ MWAP medication regardless of their medical needs.

(SAC at ¶ 1063.) Based on the evidence in the record, presented

in the parties’ written submissions and hearing presentations,

the Court finds that DOCCS medical providers continue to deny

and discontinue their patients’ MWAP medications without medical

justification.

    Dr. Moores’ evidence showed that the MWAP Policy was

replaced by Policy 1.24A and that Policy 1.24A attempted to

address many of the shortcomings of the MWAP Policy. Dr. Moores’

evidence also showed that she and her deputy, Dr. Kahn, are

genuinely attempting to improve DOCCS’ standard of care for its

chronic pain patients. But Dr. Moores’ evidence failed to show

that DOCCS providers have stopped denying and discontinuing MWAP

medications without medical justification. As noted above,

Plaintiffs’ evidence demonstrated that chronic pain patients in

DOCCS’ care frequently have their MWAP medications discontinued


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upon transfer to a new facility before they have been seen or

assessed by a provider.23 See supra Sections (II)(B)(i)(a) and

(b), testimony of Messrs. Wilkerson and Johnson. Plaintiffs’

evidence showed that MWAP medications are discontinued

indefinitely upon uninvestigated allegations of misuse. See

supra Section (II)(B)(i)(c), testimony of Mr. Dockery.

Plaintiffs’ evidence also showed that DOCCS providers sometimes

fail to provide any consistent, effective treatment to chronic

pain patients. See supra Section (II)(B)(ii)(a) and (d),

testimony of Messrs. Rahman and Moronta.24

     Plaintiffs’ evidence of current constitutional violations

mirrors the allegations they made in the SAC. Thus, Defendants’

conduct “suffers from similar infirmities as it did at the

outset” and has not been “‘sufficiently altered so as to present

a substantially different controversy from the one’ that existed


23Dr. Moores’ witness, Dr. Kahn, testified that this kind of
discontinuation should not happen. Feb. 7 Tr. at 168:6-13:

     Q. Is there a requirement that a provider at a new
     facility has to reorder all of the medications
     prescribed from a previous provider?

     A. Yes, we continue all the medication the previous
     provider has written, yes, at least in the start.
     Subsequently, when we examine the patient, that's the
     time if we need to make adjustment after talking to the
     patient, that’s something different.

24Any deference given to Dr. Moores’ representation that she
will not revert to the MWAP Policy is overwhelmed by the
evidence of on-going denials of effective pain medication.
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when . . . suit was filed.” AFDI, 815 F.3d at 109 (citation

omitted). The Court finds that the conduct Plaintiffs challenged

in the SAC has not ceased, the implementation of Policy 1.24A

has not “completely and irrevocably” eradicated the effects of

DOCCS’ deliberate indifference, and the constitutional

violations resulting from the unjustified denials and

discontinuations of MWAP medications are ongoing.

      For the foregoing reasons, Defendants’ Rule 12(b)(1) motion

to dismiss for lack of subject matter jurisdiction is DENIED.

IV.   Plaintiffs’ Motion for Preliminary Injunction
      A. Dr. Moores’ Affirmative Arguments

      The Court begins this section by addressing some

affirmative arguments made by Dr. Moores as to why Plaintiffs’

motion for a preliminary injunction is improper.

         i.   Court’s Jurisdiction and the Eleventh Amendment

      Dr. Moores first claims that the Court lacks jurisdiction

to review Plaintiffs’ motion for preliminary injunctive relief

because it is “based on claims and allegations not alleged in

the underlying complaint.” (Moores Inj. Opp. at 8.) In support

of this claim, Dr. Moores notes that the SAC is based on “events

occurring between the years of 2017 and 2019” and that the MWAP

Policy was replaced in February 2021 by Policy 1.24A, which

Dr. Moores asserts is “an entirely new regime that supersedes,


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in all respects, the MWAP Policy that formed the basis of

Plaintiffs’ claims” in the SAC. (Id. at 10-11.) Dr. Moores then

accuses Plaintiffs of “improperly . . . alleging a new claim for

the first time in their motion papers – that Section 1.24A is

unconstitutional and gives rise to deliberate indifference in

its implementation because it ‘has failed to spur sweeping

changes.’” (Id. at 11.) Dr. Moores writes that Plaintiffs’ new

claim is based “solely on events and patient cases from 2021”

which post-date the allegations in Plaintiffs’ SAC and “on

allegations of deliberate indifference faced by non-parties to

this case, over whom this Court has no jurisdiction.” (Id. at

11.) Dr. Moores also asserts that Plaintiffs’ injunction claim

is precluded by the Eleventh Amendment. (Id. at 13-14.)

    These arguments fail for the same reasons as the Rule

12(b)(1) arguments discussed above: Plaintiffs’ motion for

injunctive relief is based on claims and allegations made in the

SAC, namely those contained in Plaintiffs’ second claim for

relief, and the evidence demonstrates that the constitutional

violations alleged are ongoing.

       ii.   Section 1983 Causation and Claims Against Dr. Moores

    Dr. Moores next argues that Plaintiffs cannot demonstrate a

“clear and substantial likelihood of success on the merits on

their official capacity deliberate indifference claim” (id. at


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13) because “Plaintiffs fail to demonstrate that DOCCS is the

moving force behind any alleged constitutional deprivation,”

(id. at 15). Dr. Moores makes this argument based on the

standard for proving a Monell claim as set out in Kravitz v.

Annucci, 2019 WL 1429546, at *9 (S.D.N.Y. 2019). Dr. Moores

relies on Reynolds v. Giuliani for the proposition that “a state

official may be sued in his or her official capacity for

injunctive or other prospective relief, but only when the state

itself is the moving force behind the deprivation.” 506 F.3d

183, 191 (2d Cir. 2007).

    Plaintiffs have not asserted a Monell claim against

Dr. Moores. Instead, Plaintiffs seek injunctive relief related

to DOCCS providers’ unjustified denial and discontinuation of

MWAP medications, as described in Plaintiffs’ second claim for

relief. Where a plaintiff seeks only injunctive relief,

“personal involvement of an official sued in his official

capacity is not necessary.” Davidson v. Scully, 148 F. Supp. 2d

249, 254 (S.D.N.Y. 2001) (quotation marks and citations

omitted). Instead, “claims for prospective declaratory or

injunctive relief are permissible provided the official against

whom the action is brought has a direct connection to, or

responsibility for, the alleged illegal action.” Id. (citing

Koehl v. Dalsheim, 85 F. 3d 86, 89 (2d Cir. 1996)). Because

Dr. Moores has responsibility as DOCCS’ CMO for the alleged
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illegal action of her subordinates, Plaintiffs may properly seek

injunctive relief targeted to Dr. Moores. As such, Plaintiffs

need not establish a deliberate indifference claim against

Dr. Moores. If Plaintiffs can establish that the DOCCS providers

continue to deny and discontinue MWAP medications without proper

medical justification, then the Court may order injunctive

relief remedying these harms through Dr. Moores’ office.

    The Court next turns to the legal standards for granting

preliminary injunctions and proving Eighth Amendment claims of

deliberate indifference.

    B. Legal Standards

        i.   Preliminary Injunction

    “A plaintiff seeking a preliminary injunction must
    establish that he is likely to succeed on the merits,
    that he is likely to suffer irreparable harm in the
    absence of preliminary relief, that the balance of
    equities tips in his favor, and that an injunction is in
    the public interest.” Winter v. Natural Res. Def.
    Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L. Ed.
    2d 249 (2008). A plaintiff who seeks a preliminary
    injunction that will alter the status quo must
    demonstrate a “substantial” likelihood of success on the
    merits. Sunward Elecs., Inc. v. McDonald, 362 F.3d 17,
    24 (2d Cir. 2004).

New York Progress and Protection PAC v. Walsh, 733 F.3d 483, 486

(2d Cir. 2013).   Once a plaintiff has established a likelihood

of success on the merits, an “alleged violation of a

constitutional right . . . triggers a finding of irreparable

harm.” Weisshaus v. Cuomo, 512 F. Supp. 3d 379, 390 (E.D.N.Y.

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2021) (quoting Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir.

1996)).

       ii.   Eighth Amendment Deliberate Indifference

    “[D]eliberate indifference to serious medical needs of

prisoners constitutes the ‘unnecessary and wanton infliction of

pain’ proscribed by the Eighth Amendment.” Estelle v. Gamble,

429 U.S. 97, 104, 97 S. Ct. 285, 50 L. Ed. 2d 251 (1976)

(quoting Gregg v. Georgia, 428 U.S. 153, 173, 96 S.Ct. 2909, 49

L.Ed.2d 859 (1976)). A plaintiff who alleges deliberate

indifference to his medical needs must show that “(1) his

medical condition was objectively serious (the objective test);

and (2) the defendant acted with deliberate indifference to his

medical needs (the subjective test).” Bradshaw v. City of New

York, 855 F. App’x 6, 10 (2d Cir. 2021) (citing Brock v. Wright,

315 F.3d 158, 162 (2d Cir. 2003)).

    The objective test asks “(1) ‘whether the prisoner was

actually deprived of adequate medical care,’ meaning that the

officials responsible for his treatment ‘fail[ed] to take

reasonable measures in response to a medical condition’; and

(2) ‘whether the inadequacy in medical care is sufficiently

serious.’” Green v. Shaw, 827 F. App’x 95, 96 (2d Cir. 2020)

(quoting Salahuddin v. Goord, 467 F.3d 263, 279–80 (2d Cir.

2006)).


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    [I]f the unreasonable medical care is a failure to
    provide any treatment for an inmate's medical condition,
    courts examine whether the inmate's medical condition is
    sufficiently serious. Smith v. Carpenter, 316 F.3d 178,
    185–86 (2d Cir. 2003). Factors relevant to the
    seriousness of a medical condition include whether “a
    reasonable doctor or patient would find [it] important
    and   worthy    of   comment,”    whether   the   condition
    “significantly     affects     an     individual's    daily
    activities,” and whether it causes “chronic and
    substantial pain.” Chance v. Armstrong, 143 F.3d 698,
    702 (2d Cir. 1998) (quotation marks omitted). In cases
    where the inadequacy is in the medical treatment given,
    the seriousness inquiry is narrower. For example, if the
    prisoner is receiving on-going treatment and the
    offending    conduct   is   an    unreasonable   delay   or
    interruption in that treatment, the seriousness inquiry
    “focus[es] on the challenged delay or interruption in
    treatment rather than the prisoner's underlying medical
    condition alone.” Smith, 316 F.3d at 185 (emphasis
    omitted).

Salahuddin, 467 F.3d at 280.

    The subjective test requires that the charged official act

with a “sufficiently culpable state of mind” called deliberate

indifference. Salahuddin, 467 F.3d at 280. “Deliberate

indifference is a mental state equivalent to subjective

recklessness” such that the charged official must act “while

actually aware of a substantial risk that serious inmate harm

will result.” Id. (citing Farmer v. Brennan, 511 U.S. 825, 836-

37, 839-40, 114 S. Ct. 1970, 128 L. Ed. 2d 811 (1994)).

“[E]vidence that the risk was obvious or otherwise must have

been known to a defendant is sufficient to permit a jury to

conclude that the defendant was actually aware of it.” Brock,

315 F.3d at 164 (citing Farmer, 511 U.S. at 842).
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    If the charged official “‘knew the underlying facts but

believed (albeit unsoundly) that the risk to which the facts

gave rise was insubstantial or nonexistent,’” then the official

did not act with deliberate indifference. Salahuddin, 467 F.3d

at 281 (citing Farmer, 511 U.S. at 844). If a charged official

“sincerely and honestly believed . . . that applying [a prison

policy mandating the denial of treatment] was, in plaintiff's

case, medically justifiable,” then a jury could infer the

absence of a sufficiently culpable state of mind. Id. (quoting

Johnson v. Wright, 412 F.3d 398, 404 (2d Cir.2005)). “[A]

physician may be deliberately indifferent if he or she

consciously chooses an easier and less efficacious treatment

plan.” Chance, 143 F.3d at 703.

    C. Discussion

        i.   Substantial Likelihood of Success on the Merits of
             the Deliberate Indifference Claim
             a. Restatement of Relevant Facts

    The Court begins the preliminary injunction analysis with

the prong most likely to decide Plaintiffs’ motion: whether

Plaintiffs have a shown a substantial likelihood of success on

the merits of their deliberate indifference claims against DOCCS

medical providers. In the SAC, Plaintiffs alleged a pattern of

DOCCS medical providers’ discontinuing medications for non-

medical reasons and without regard to a patient’s individualized


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needs. (SAC at ¶¶ 270-1044.) In their moving papers, Plaintiffs

asserted that these treatment failures continued after

promulgation of Policy 1.24A and detailed the failure of DOCCS

medical providers to engage in effective reassessments for the

named Plaintiffs. (Pl. Inj. Br. at 4-18.) Plaintiffs describe

medical providers who never understood the purpose for the

reassessments, did not conduct physical exams, ignored

specialist recommendations for effective MWAP medications,

dismissed Plaintiffs’ pain as not requiring serious treatment,

and discontinued needed prescriptions “based on remote incidents

of substance addiction, diversion and, even, criminal records.”

(Id. at 7.) Plaintiffs also offered examples of patients who had

not received reassessments or treatment (id. at 19-20) and

asserted that DOCCS was still discontinuing effective treatment

based on non-medical reasons such as transfers or allegations of

misbehavior, (id. at 20-21). Plaintiffs contend that of the

sixty-nine patients that Plaintiffs’ expert studied, about a

third still required proper reassessments and treatment. (Id. at

21.) In their post-hearing brief, Plaintiffs summarize the flaws

in DOCCS’ curative efforts:

    1) DOCCS never communicated the change in policy to the
    outside specialists; 2) DOCCS never trained its own
    providers on 1.24A; 3) many patients never received
    effective treatment even after the reassessments
    indicated such treatment was appropriate; 4) many
    patients have not received reassessments or treatment at


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     all, and [5]) patients were still being discontinued
     from effective treatment upon transfers.

(Pl. PH Br. at 3.)

     Against this evidence, Dr. Moores offered her declaration

describing the steps she has taken to “reform[] the prior system

for prescription of pain management medication” and implement

the DOCCS’ new health Policy 1.24A. (Moores Decl. at ¶ 18.)

Dr. Moores asserted she had conducted audits to assess the

implementation of Policy 1.24A; modified Policy 1.24A to

eradicate RMD involvement in approving non-formulary

medications;25 established an auditing and monitoring body to

oversee the treatment of chronic pain patients; proposed draft

credentialing and competency policies; directed DOCCS’ vendor to

approve all specialty pain referrals; implemented new mandatory

training regarding chronic pain evaluation and treatment;

drafted new forms to conduct annual pain reassessments;

initiated the process of transitioning DOCCS to electronic

medical records; and circulated a memo to DOCCS’ staff



25The term “non-formulary medication” refers to DOCCS’ Formulary
Book, which lists “what specific drugs in each therapeutic class
are available to physicians to prescribe without further
approval.” (SAC at ¶ 45.) Non-formulary medications “are not
kept in stock on site at a DOCCS facility and require approval
before they can be ordered.” (Moores Decl. at ¶ 26.) On October
31, 2022, Dr. Moores issued a memo that read in part: “all non-
formulary medication requests are reviewed only by the Chief
Medical Officer, the Deputy Chief Medical Officer and select
PCPs.” (Dkt. no. 489-3 (emphasis in original).)
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“reminding them of their obligations under Policy 1.24A and

advising that strict compliance was required.” (Moores Inj. Opp.

at 7-8.) Dr. Moores also wrote that she had personally reviewed

the medical records of thirty-eight patients mentioned in

Plaintiffs’ moving papers from February 2021 through October

2022. (Moores Decl. at ¶¶ 86-87.) Dr. Moores declared that after

this review, she did not find that “any patient's treatment has

lapsed or become urgent,” any evidence that pain medications

were discontinued or specialty referrals denied “for non-medical

reasons” (except in the case of one specialty referral), or any

evidence that pain medications or specialty referrals were

denied “because of any policy.” (Id. at ¶¶ 90-94.) Dr. Moores

listed thirteen patients where she had followed up to “ensure

that the patient was receiving the appropriate care.” (Id. at

¶ 95.) Dr. Moores also disclosed that on November 21, 2022, she

would visit Shawangunk, a facility where Dr. Win is the only

medical provider, to “initiate a review of Dr. Win’s work and to

assess the needs of the facility.” (Id. at ¶ 96.) Dr. Moores

indicated her desire to discuss patients Mark Daniels, Hugh

Knight, Rashid Rahman, Felipe Rivera-Cruz, Jose Burgos, and

Ronald Diggs with Dr. Win during her visit. (Id.)

    In Plaintiffs’ reply papers, they note that despite

Dr. Moores’ specific attention to the treatment of Plaintiffs

Daniels, Knight, Rahman, Rivera-Cruz, Burgos, and Diggs, as of
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December 9, 2022, only Mr. Knight had received treatment

recommended by specialists. (Pl. Inj. Reply at 6.) Plaintiffs

also noted two instances of discontinuation that occurred after

Dr. Moores filed her papers opposing the preliminary injunction.

Mr. Dockery’s treatment was discontinued after he refused a

mouth check with a flashlight that had been in the mouths of

other inmates. See supra Section (II)(B)(i)(c). Mr. Johnny

Lopez’s Neurontin was discontinued after he transferred between

DOCCS facilities. (Pl. Inj. Reply at 6-7.)

    Bolstering Plaintiffs’ case for both the objective and

subjective prongs of deliberate indifference are several

admissions Dr. Moores made in her declaration. Dr. Moores wrote

that “the MWAP Policy placed all decision-making authority into

the hands of the [RMDs] regarding the prescription of pain

management medication and as a result, many patients were denied

the pain treatment they needed.” (Moores Decl. at ¶ 13.)

Further, from July to October 2022, Dr. Moores conducted a

series of audits in which she found that “some” of DOCCS’ forty-

four facilities “were following 1.24A properly, consistently and

meeting expectations.” (Id. at ¶ 32.) Based on her audits, Dr.

Moores

    determined that it was necessary to implement certain
    department-wide changes and continue to strategize
    further changes so that there is consistency in how
    Policy 1.24A is implemented. [Her] goal in making this
    determination was to ensure that all DOCCS medical staff

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    are providing medical services to pain             patients   in
    accordance with the standard of care.

(Id. at ¶ 33.)

             b. Analysis

    Deciding whether Plaintiffs have shown a substantial

likelihood of success on the merits requires an analysis of the

Eighth Amendment violations they have documented. The Court

returns to the evidence presented in the February 2023 hearing

and underlying papers to highlight some representative examples

from the wider record.

    Mr. Wilkerson’s narcotic pain medication was discontinued

in May 2022 upon transfer to a new facility before he met with a

medical provider. (Feb. 7 Tr. at 271:11-272:11.) Mr. Wilkerson

testified that without his medication, his sickle cell anemia

renders him immobile and unable to care for himself. (Id. at

257:21-25.) Mr. Wilkerson said that his medication is essential

to avoiding sickle cell crises that could lead to

hospitalization and even death. (Id. at 257:17-258:8.) Though

the discontinuation was relatively brief at nine days,

Mr. Wilkerson’s medication was only restarted after intervention

by counsel and the Court. (See dkt. nos. 375-377.) Mr. Wilkerson

testified that his provider, Dr. Burke, told him that

Dr. Burke’s “hands [we]re tied because this is how DOCCS does

things” (Feb. 7 Tr. at 272:14.), leading the Court to believe

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that Mr. Wilkerson’s discontinuation might have lasted longer

had the parties not acted.

    Together, these facts meet the objective seriousness prong

of deliberate indifference. Sickle cell anemia should certainly

be “worthy of comment” to a reasonable doctor or patient, and

Mr. Wilkerson testified that his disease “significantly affects”

his daily activities and causes “chronic and substantial pain.”

Salahuddin, 467 F.3d at 280. Though the discontinuation was

relatively brief, the Court credits the brevity to counsel’s

quick intervention and not any choice on the part of

Mr. Wilkerson’s DOCCS providers. Further, for an illness with

such drastic consequences as sickle cell anemia, where a lapse

of treatment could spur a crisis resulting in hospitalization or

death, any discontinuation of treatment should be considered

objectively serious.

     DOCCS’ mistreatment of Mr. Wilkerson also meets the

standard for a provider acting with a sufficiently culpable

state of mind. Mr. Wilkerson testified that Dr. Burke told him

that if Dr. Burke was Mr. Wilkerson’s private practice doctor

outside of DOCCS, then Mr. Wilkerson would “automatically” get

narcotic pain medication because his sickle cell anemia required

such treatment: “it’s textbook stuff.” (Feb. 7 Tr. at 272:15-

17.) Such a statement suggests that Dr. Burke acted “while


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actually aware of a substantial risk that serious inmate harm

will result.” Salahuddin, 467 F.3d at 280. Further, Dr. Moores’

and Dr. Kahn’s testimony that “there is no policy, custom or

practice in place at DOCCS that prohibits [PCPs] from

prescribing their choice of pain treatment” (Moores PH Br. at 3-

4) discredits the assertion that Mr. Wilkerson testified his

PCP, Dr. Burke, made in denying Mr. Wilkerson narcotic pain

medication – that Dr. Burke’s “hands [we]re tied because this is

how DOCCS does things,” (Feb. 7 Tr. at 272:12-15). Thus, DOCCS’

treatment of Mr. Wilkerson meets the subjective prong of

deliberate indifference as well.

    DOCCS treatment of Mr. Rahman also meets the deliberate

indifference standard. Mr. Rahman suffered a failed back surgery

that left him in “excruciating” chronic pain (Feb. 8 Tr. at

391:8-10) and required lengthy stays at two DOCCS RMUs,

Coxsackie and Walsh, where DOCCS treats “patients who are really

sick who cannot stay in the general population” because “they

need a lot more care and treatment,” (Feb. 7 Tr. at 151:6-11.)

Mr. Rahman testified that while he was at Coxsackie and Walsh,

he received Ultram to manage his pain (Feb. 8 Tr. at 393:7-

394:15,) but that his pain medication was discontinued when he

was transferred to Shawangunk, (id. at 394:18-395:14).

Mr. Rahman also testified that his chronic pain is serious

enough that without his medication, he is prevented from
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sleeping and sometimes unable to attend outside medical

appointments. (Id. at 396:19-24.) Once again, these facts meet

the objective prong of the deliberate indifference standard.

Excruciating chronic pain resulting from a failed surgery meets

the “chronic and substantial pain” standard contemplated by the

objective test, and Mr. Rahman testified credibly that his pain

affects his daily activities such as his ability to sleep and

attend medical appointments. Salahuddin, 467 F.3d at 280.

    Regarding the subjective prong of the test, Mr. Rahman

testified that he “continuously expressed” his pain to

Shawangunk medical staff, that Ultram helped with his pain, and

asked for his Ultram prescription to be reinstated. (Feb. 8 Tr.

at 396:25-397:8.) When Mr. Rahman’s provider, Dr. Win, sent

Mr. Rahman for a pain management consultation with a specialist,

the specialist recommended Ultram to treat Mr. Rahman’s pain.

(P-10 at 299.) However, Dr. Win refused to reinstate Mr.

Rahman’s prescription, instead telling Mr. Rahman that Dr. Win

would prescribe Ultram for Mr. Rahman only in short spurts while

under observation in the Shawangunk infirmary. (Pl. PH Br. at

19.) Under the circumstances, it should have been obvious to

Dr. Win that refusing to prescribe consistent effective pain

medication to Mr. Rahman would leave Mr. Rahman in an

unacceptable amount of pain, which is sufficient to allow the

Court to conclude that Dr. Win was actually aware of the serious
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risk of inmate harm that would result from his actions. Brock,

315 F.3d at 164 (citation omitted). Further, the Court finds

that Dr. Win consciously chose “an easier and less efficacious

treatment plan” because he knew that the pain management

specialist had recommended that Mr. Rahman be treated with

Ultram. Chance, 143 F.3d at 703.

    The Court acknowledges that one or two random examples of

inmates’ being denied adequate pain medications might not be

sufficient to demonstrate a likelihood of success on the merits,

but that is not this case. Here, despite the best intentions of

Dr. Moores and Dr. Khan, the totality of the evidence detailed

above demonstrates a pervasive failure across multiple DOCCS

facilities of multiple DOCCS medical providers to provide

reasonable pain medications to inmates suffering from

debilitating pain while actually aware that the lack of

medication would result in such pain – that is, with the

requisite objective pain and subjective state of mind. Thus, the

Court concludes that Plaintiffs have met their burden of showing

a substantial likelihood of success on the merits of their

Eighth Amendment claim. Because Plaintiffs have made this

showing and alleged a constitutional violation, this triggers a

finding of irreparable harm. Weisshaus, 512 F. Supp. 3d at 390

(quoting Jolly, 76 F.3d at 482).



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       ii.   The Balance of Equities and In the Public Interest

     In their brief, Plaintiffs assert that there is no reason

“medical, penological, or otherwise” for DOCCS’ ongoing

constitutional violations. (Pl. Inj. Br. at 28.) Plaintiffs

balance that against their interest in remedying the “cruel and

inhumane treatment” they have endured. (Id.) Defendants ask the

Court to add to the other side of the scale the interest New

York State has in the “administration of its own facilities” and

the interest of the federal courts in giving “appropriate

consideration” to principles of federalism when “determining the

availability and scope of equitable relief.” (Moores Inj. Opp.

at 22-23 (quoting Dean v. Coughlin, 804 F.2d 207, 213 (2d Cir.

1986) (citations omitted)).) The Court finds that remedying the

constitutional violations in DOCCS’ pain management practices

outweighs New York State’s administration interest and the

federalism principles that caution against intervention by

federal courts. Therefore, the Court finds that the balance of

equities tips in Plaintiffs’ favor and that a preliminary

injunction would be in the public interest. Plaintiffs’ motion

for a preliminary injunction is GRANTED.

V.   Conclusion
     For the reasons above, Defendants’ motion to dismiss for

pursuant to Rule 12(b)(1) (dkt. no. 101) is DENIED. Plaintiffs’

motion for a preliminary injunction (dkt. no. 373) is GRANTED.

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Out of consideration for the cautions embodied in Dean v.

Coughlin, 804 F.2d 207, 213 (2d Cir. 1986), the Court will

reserve ruling on the provisions of the injunction until it has

heard from the parties. Counsel shall confer and submit a

proposal for the provisions of the preliminary injunction.

    The Clerk of the Court shall close the open motion. (Dkt.

no. 373.)

SO ORDERED.

Dated:      March 31, 2023
            New York, New York


                            __________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge




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